Case 3:21-cv-00159-N-BH Document 42 Filed 12/03/21                  Page 1 of 2 PageID 3625



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

MEDARC, LLC, as Collection Agent for            §
Jeffrey H. Mims, Trustee of the Liquidating     §
Trust of Revolution Monitoring, LLC,            §
Revolution Monitoring Management, LLC,          §
and Revolution Neuromonitoring, LLC,            §
             Plaintiff,                         §
v.                                              §    Civil Action No. 3:21-CV-0159-N-BH
                                                §
UNITEDHEALTH GROUP                              §
INCORPORATED, et al.,                           §
         Defendants.                            §

                ORDER ACCEPTING FINDINGS AND RECOMMENDATION
                    OF THE UNITED STATES MAGISTRATE JUDGE

        After reviewing all relevant matters of record in this case, including the Findings,

Conclusions, and Recommendation of the United States Magistrate Judge and any objections

thereto, in accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge is of the opinion

that the Findings and Conclusions of the Magistrate Judge are correct and they are accepted as the

Findings and Conclusions of the Court.

        Defendants’ Motion to Dismiss Plaintiff’s Second Amended Complaint, filed April 12,

2021 (doc. 26), is GRANTED in part and DENIED in part, and the nine claims relating to the

HealthSelect of Texas (In-Area) Benefits Plan, a self-funded benefit plan operated by the

Employees Retirement System of Texas and governed by the Texas Employers Group Benefits

Act, Tex. Ins. Code § 1551.001, et seq., are DISMISSED without prejudice for lack of

jurisdiction.
Case 3:21-cv-00159-N-BH Document 42 Filed 12/03/21        Page 2 of 2 PageID 3626




     SIGNED this 3rd day of December, 2021.



                                              ____________________________________
                                              UNITED STATES DISTRICT JUDGE
